         Case 2:95-cr-00006-JRH-BWC Document 268 Filed 06/03/16 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION

                                                 *
UNITED STATES OF AMERICA,
                                                 *


               v.



RALPH MERCADO,                                   *
                                                 *


        Defendant.                               *                 2:95-cr-006-3
                                                 *

                                                 *




                                                 *




                                          ORDER




        Presently      pending       before          the    Court       is      Defendant        Ralph

Mercado's "Motion to Apply Johnson to Defendant's Case."                                         (Doc.

264.)     The Court interprets Defendant's motion to be a motion to

vacate,       set   aside,    or   correct       his        sentence          under    28    U.S.C.    §

2255 based on Johnson v.             United States,              135 S. Ct.       2551       (2015).

        The    Government's          brief      ably        summarizes           the        procedural

history of this case:


               In 1995, Mercado pled guilty to one count of
               bank robbery in violation of 18 U.S.C. §
               2113(d)       and   one    count        of       using     a    firearm
               during the commission of a crime of violence
               in    violation     of    18    U.S.C.       §    924(c).        (Docs.
               56, 65.)  The Court sentenced Mercado to 300
               months'  imprisonment on the bank robbery
               count and 60 months'    imprisonment on the
               firearms count, to be served consecutively,
               for     a     total       sentence           of      360        months'
               imprisonment.            (Doc.    69.)       Mercado appealed,
               and    the    Eleventh         Circuit       affirmed.            (Docs.
           Case 2:95-cr-00006-JRH-BWC Document 268 Filed 06/03/16 Page 2 of 3



                    77, 100.)                 In August 2013, Mercado filed a
                    28 U.S.C.                § 2255 motion (Doc. 239), which
                    this Court dismissed as untimely (Docs. 245,
                    250).

(Doc.      267        at         1.)         Because        this    is     Mercado's              second        §    2255

motion,        he may only file the motion after it is "certified . . .

by    a    panel          of      the        appropriate           court     of       appeals           to    contain"

either:



                    (1)  newly  discovered  evidence   that,  if
                    proven and viewed in light of the evidence
                    as a whole, would be sufficient to establish
                    by clear and convincing evidence that no
                    reasonable               factfinder        would       have           found       the
                    movant guilty of the offense; or

                    (2)      a    new        rule    of     constitutional                law,    made
                    retroactive to cases on collateral review by
                    the  Supreme   Court,  that  was  previously
                    unavailable.


28    U.S.C.         §       2255(h).          "The    court       of    appeals           may        authorize       the

filing         of        a       second        or     successive           application                 only     if     it

determines that the application makes a prima facie showing that

the   application satisfies the                              requirements of this subsection."

Id.   §    2244(b)(3)(C).                      The    Eleventh          Circuit           recently         granted     an

application               concerning               Johnson's       impact        on       sentences           under    18

U.S.C.         §    924(c).            See    In re       Ricardo       Pinder,           Jr.,    No.        16-12084-J

(11th Cir.           June 1,            2016).

          In       other         words,        before        filing      a   motion              in     this     Court,

Mercado            must      apply           for    leave    to     file     a    second              or     successive

motion         to    vacate,             set       aside,    or     correct           a    sentence           under    28

U.S.C. § 2255.                    That application must be filed directly with the
         Case 2:95-cr-00006-JRH-BWC Document 268 Filed 06/03/16 Page 3 of 3



Clerk    of    the   Eleventh      Circuit     Court    of   Appeals.             The    Court

notes that Mercado's application must be filed with the Eleventh

Circuit       before   the     statute    of   limitations      expires      on    June    26,

2016.


        Because      Mercado      does   not   presently      have    leave      to     file   a

second § 2255 motion,             his motion is DENIED.
                                                                          j?
        ORDER ENTERED        at   Augusta,     Georgia,      this             day of      June

2016.




                                                                    DAL   HALL
                                           UNITE!}/ STATES DISTRICT JUDGE
                                                  2RN   DISTRICT     OF GEORGIA
